                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

  UNITED STATES OF AMERICA

  v.                                                     Case No.: 3:21−cr−00022−KAC−DCP

  LORETTA JOHNSON


                                  DUE PROCESS PROTECTIONS ACT ORDER

       Pursuant to the Due Process Protections Act, the Court confirms the United States' obligation to

  produce all exculpatory evidence to the defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963)

  and its progeny, and orders it to do so. Failing to do so in a timely manner may result in consequences,

  including, but not limited to, exclusion of evidence, adverse jury instructions, dismissal of charges,

  contempt proceedings, or sanctions by the Court.




  ENTER.

                                                 s/ Debra C Poplin
                                                 UNITED STATES MAGISTRATE JUDGE




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